                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



CITY OF ST. PETERSBURG, FLORIDA,

                      Plaintiff,

vs.                                                   Case No. 8:10-cv-693-TBM

WELLS FARGO BANK, N.A.

                  Defendant.
________________________________________/

                              SATISFACTION OF JUDGMENT

       Plaintiff, the City of St. Petersburg, Florida, by and through its undersigned counsel,

hereby acknowledges full satisfaction of the Judgment entered in favor of Plaintiff and against

Defendant Wells Fargo Bank, N.A., on April 4, 2012 (Dkt. No. 162) following jury verdict. As

the result of a settlement between the parties, Plaintiff states that Defendant Wells Fargo Bank,

N.A., has fully and completely satisfied any and all orders and judgments in this case and hereby

requests that the above-referenced Judgment be fully satisfied of record and dismissed with

prejudice.
Dated: June 25, 2013   CITY OF ST. PETERSBURG, FLORIDA

                       By its attorneys:

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                       Attorneys for Plaintiff
                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of June 2013, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to all counsel of record. I further certify that I mailed the foregoing to the

following non-CM/ECF participants: None.


                                                /s/ C. Bailey King, Jr.
                                                Attorney for Plaintiff
